Case 8:06-cr-00465-S_B-AAS Document 154 Filed 01/19/11 Page 1 of 5 PageID 328




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



ALEJANDRO RAMIREZ LOZANO,

       Petitioner,

v.                                                             Case No.: 8:11-cv-75-T-24EAJ
                                                                         8:06-cr-465-T-24EAJ

UNITED STATES OF AMERICA,

       Respondent.
                                     /

                                             ORDER

       This cause is before the Court upon Petitioner Lozano’s motion to vacate, set aside, or

correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (CV Doc. No. 1; CR Doc.

No. 153). Because a review of the motion and the record in this case conclusively shows that

Petitioner is not entitled to relief, the Court will not cause notice thereof to be served upon the

United States Attorney and shall proceed to address the matter.

I. Background

       On February 14, 2007, Petitioner was charged in two counts of a Superseding Indictment.

(CR Doc. No. 50). In Count One, he was charged with conspiracy to posses with intent to

distribute cocaine while on a vessel subject to the jurisdiction of the United States. In Count

Two, he was charged with possession with intent to distribute cocaine while on a vessel subject

to the jurisdiction of the United States.

       Petitioner pled guilty to the charges and was sentenced to 135 months of imprisonment

on May 25, 2007. (CR Doc. No. 93). He appealed his conviction and sentence, and the Eleventh
Case 8:06-cr-00465-S_B-AAS Document 154 Filed 01/19/11 Page 2 of 5 PageID 329




Circuit affirmed it on September 25, 2008. (CR Doc. No. 147).

        On January 7, 2011–more than two years after the Eleventh Circuit’s decision–Petitioner

submitted the instant § 2255 motion to prison authorities for mailing. However, because the

§ 2255 motion is untimely, the Court denies it without reaching the merits of the grounds for

relief asserted therein.

II. Timeliness

        The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) “established a

mandatory, one-year ‘period of limitation’ for § 2255 motions, which runs from the latest of the

following events:

        (1)     the date on which the judgment of conviction becomes final;
        (2)     the date on which the impediment to making a motion created by
                governmental action in violation of the Constitution or laws of the United
                States is removed, if the movant was prevented from making a motion by
                such governmental action;
        (3)     the date on which the right asserted was initially recognized by the
                Supreme Court, if that right has been newly recognized by the Supreme
                Court and made retroactively applicable on collateral review; or
        (4)     the date on which the facts supporting the claim or claims presented could
                have been discovered through the exercise of due diligence.

Jones v. U.S., 304 F.3d 1035, 1037-38 (11th Cir. 2002) (citing 28 U.S.C. § 2255(f)(1)-(4)).

        Petitioner unsuccessfully appealed his conviction to the Eleventh Circuit, and under such

circumstances, a conviction becomes final when the Supreme Court affirms the conviction,

denies a petition for a writ of certiorari, or when the time for filing a certiorari petition expires.

See Clay v. U.S., 537 U.S. 522, 527 (2003). Petitioner has not stated that he filed a certiorari

petition, and as such, his conviction became final when the time for filing a certiorari petition




                                                   2
Case 8:06-cr-00465-S_B-AAS Document 154 Filed 01/19/11 Page 3 of 5 PageID 330




expired on December 24, 2008.1 Accordingly, he was required to file his § 2255 motion by

December 24, 2009 in order for it to be timely filed.

       Petitioner did not submit the instant § 2255 motion to prison authorities for mailing until

January 7, 2011–more than a year after the December 24, 2009 deadline. As such, his § 2255

motion is untimely. Petitioner acknowledges this issue, but he argues that the filing deadline

should be equitably tolled due to the fact that he is only literate in the Spanish language, the

prison law library does not have sufficient legal materials written in Spanish, he was unable to

obtain translation assistance, he was unable to find someone to assist him in preparing this

motion until November of 2010, and he was misadvised by jailhouse lawyers that he had no

grounds for relief.

       In order to obtain equitable tolling of the AEDPA’s filing deadline, Petitioner was

required to establish two things: (1) that he had been pursuing his rights diligently, and (2) that

some extraordinary circumstance stood in his way and prevented timely filing. See Holland v.

Florida, 130 S. Ct. 2549, 2562 (2010)(citation omitted). “Equitable tolling is only granted in

‘extraordinary’ circumstances.” Brown v. U.S., 318 Fed. Appx. 749, 750 (11th Cir. 2008).

       Being negligently misadvised by jailhouse lawyers is not an extraordinary circumstance

that provides a basis for equitable tolling.2 See Rolon-Ayala v. U.S., 2010 WL 3069503, at *1

(M.D. Fla. Aug. 3, 2010). Likewise, a limited ability to communicate in English is not a basis


       1
       A petition for a writ of certiorari must be filed within 90 days after the entry of the
judgment being appealed. 28 U.S.C. § 2101(c).
       2
         The fact that Petitioner was able to communicate with jailhouse lawyers about his case
somewhat undermines his argument that his failure to read English prevented him from being
able to timely file his motion, because Petitioner has not explained why he did not ask the
jailhouse lawyers for help translating the legal materials.

                                                  3
Case 8:06-cr-00465-S_B-AAS Document 154 Filed 01/19/11 Page 4 of 5 PageID 331




for equitable tolling. See Brown, 318 Fed. Appx. at 750; U.S. v. Montano, 398 F.3d 1276, 1280

n.5 (11th Cir. 2005).

       The Court notes that there is no evidence, beyond Petitioner’s conclusory allegations,

that: (1) the prison law library does not have sufficient legal materials written in Spanish; (2) he

was unable to obtain translation assistance; and (3) he was unable to find someone to assist him

in preparing his § 2255 motion until November of 2010. Additionally, the Court notes that

Petitioner does not identify what specific legal materials he wanted and whether he made a

request for such materials to be provided in Spanish. He also does not allege when and from

whom he requested translation assistance. Finally, the Court notes that Petitioner states in his

motion that the person who assisted him with the drafting of the instant motion arrived at the

prison in July of 2009–approximately five months prior to the December 24, 2009 filing

deadline. Thus, the Court finds that Petitioner has not shown that he acted diligently or that

extraordinary circumstances prevented his timely filing. As a result, the Court finds that

Petitioner has not shown that equitable tolling is warranted. See U.S. v. Pugliesse, 2010 WL

4942749, at *1 (M.D. Fla. Nov. 29, 2010)(rejecting the petitioner’s equitable tolling argument

based on his inability to speak or read English, his lack of access to law books in Spanish, and

lack of access to inmate law clerks that spoke Spanish); Snorsky v. Secretary, Dept. of

Corrections, 2010 WL 1730699, at *1 (M.D. Fla. April 28, 2010)(rejecting the petitioner’s

argument for equitable tolling because he spoke very little English and could not read or write);

U.S. v. Gilbert-Alvarez, 2006 WL 3761888, at *7 (S.D. Tx. Dec. 21, 2006)(rejecting the

petitioner’s equitable tolling argument based on his inability to read English, his lack of access

to law books in Spanish, and lack of access to inmate law clerks that spoke Spanish). Therefore,


                                                  4
Case 8:06-cr-00465-S_B-AAS Document 154 Filed 01/19/11 Page 5 of 5 PageID 332




because his § 2255 motion was not timely filed, it must be denied.

III. Conclusion

        Accordingly, Petitioner’s § 2255 motion (CV Doc. No. 1; CR Doc. No. 153) is DENIED

as time-barred. The Clerk is directed to close the civil case.



                      CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal a

district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must first

issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . . only if the applicant

has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2). To

make such a showing, Petitioner “must demonstrate that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong,” Tennard v. Dretke, 542

U.S. 274, 282 (2004) (quoting Slack v. McDaniel 529 U.S. 473, 484 (2000)), or that “the issues

presented were ‘adequate to deserve encouragement to proceed further,’” Miller-El v. Cockrell,

537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

Petitioner has not made the requisite showing in these circumstances. Finally, because Petitioner

is not entitled to a certificate of appealability, he is not entitled to appeal in forma pauperis.

        DONE AND ORDERED at Tampa, Florida, this 19th day of January, 2011.



Copies to:
Counsel of Record
Pro Se Petitioner



                                                   5
